        Case 1:21-cr-00447-CJN Document 229 Filed 03/20/23 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                      )
                                               )
       v.                                      )      No. 21-447 (CJN)
                                               )
POLLOCK, et al,                                )
                                               )
                       Defendant.              )
                                               )

                              MOTION TO WITHDRAW

       Undersigned counsel respectfully requests that the Court permit her to withdraw as a

listed attorney of record as she is not counsel for any of the defendants in this matter.



                                               Respectfully submitted,

                                               A. J. KRAMER
                                               FEDERAL PUBLIC DEFENDER

                                                       /s/

                                              Maria N. Jacob
                                              D.C. Bar No. 1031486
                                              Assistant Federal Public Defender
                                              625 Indiana Avenue, N.W., Suite 550
                                              Washington, D.C. 20004
                                              (202) 208-7500
                                              Maria_Jacob@fd.org
